~AO 245C
                          Case 4:08-cr-00139-SWW Document 321 Filed 09/09/11 Page
              (Rev. 06/05) Amended Judgment in a Criminal Case
                                                                                   1 of 5
                                                                              (NOTE: Identify Changes with Asterisks (*»
              Sheet I


                                              UNITED STATES DISTRICT COURT
                           EASTERN                                     District of                                   ARKANSAS

           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN                           AFIf..l\ft:)L CASE
                                V.                                                                                            u.s. DISTRICT COURT
                                                                                                                        EASTERN DISTRICT ARKANSAS
                                                                                 Case Number: 4:08CROO 139-004
                 BENJAMIN RODRIGUEZ
                                                                                 USM Number: 33728-112                         SEP - 92011
Date of Original Judgment: _9_1_1/_2_0_1_1                        _              Richard Nahigian (retain
(Or Date of Last Amended Judgment)                                               Defendant's Attorney

Reason for Amendment:                                                                                                                             DEP CLERK
D Correction of Sentence on Remand (18 U.S.C. 3742(t)(I) and (2»                 D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e»
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 D Modification ofImposed Term ofImprisonment for Extraordinary and
    P.35(b»                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(I»
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a»             D Modification ofImposed Term oflmprisonment for Retroactive Amendment(s)
~ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                  to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2»

                                                                                 D Direct Motion to District Court Pursuant D 28 U.S.C. § 2255 or
                                                                                   D 18 U.S.C. § 3559(c)(7)
                                                                                 D Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
~ pleaded guilty to count(s)          _15_5                                                                                                                  _

D pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                      Nature of Offense                                                            Offense Ended




       The defendant is sentenced as provided in pages 2 through                 3         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D    The defendant has been found not guilty on count(s)
D   Count(s)                                                  D is D are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenClant must notifY the court and United States attorney of material changes in economIC circumstances.
                                                                                 8/30/2011
                                                                                Date of Impositio of Judgm t



                                                                                 Signature 0 u ge
                                                                                 Susan Webber Wright                            U. S. District Judge
                                                                                 Name of Judge                                 Title of Judge
                                                                                          q..q...:JO//
                                                                                 Date
AO 245C
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           (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 - Imprisonment                                                                        (NOTE: Identify Changes with Asterisks (*))

                                                                                                       Judgment - Page _2
                                                                                                                        __ of                3
DEFENDANT: BENJAMIN RODRIGUEZ
CASE NUMBER: 4:08CR00139-004

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of
                TIME SERVED.




o The court makes the following recommendations to the Bureau of Prisons:


o The defendant is remanded to the custody of the United States Marshal.
D The defendant shall surrender to the United States Marshal for this district:
     D     at                                      o a.m D p.m.                on

     D     as notified by the United States Marshal.

o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
  o before 2 p.m. on
  o as notified by the United States Marshal.
  o as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                           to

at                                                       with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                         By                                                                       _
                                                                                             DEPUTY UNITED STATES MARSHAL
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3 - Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))

                                                                                                                        3_ of
                                                                                                        Judgment-Page _ _                      9
DEFENDANT: BENJAMIN RODRIGUEZ
CASE NUMBER: 4:08CR00139-004
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a tenn of

 NO SUPERVISED RELEASE.




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau ofPnsons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as detennined by the court.                                       .
o The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a fITeann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

       The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments slieet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the pennission of the court or probation officer;
 2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted pennission to do so by the pr05ation officer;
10)     the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of
        any contraband observed in plain view of the probation officer;
11 )    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)     the d~fepdant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
        pennlSSlon of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
        record; personal history, or characteristics and shall pennit the probation officer to make such notifications and confrrm the
        defenoant's compliance with such notification requirement.
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AO 245C    (Rev, 06/05) Amended Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*»

                                                                                                 Judgment -   Page _ _4__,of                9
DEFENDANT: BENJAMIN RODRIGUEZ
CASE NUMBER: 4:08CR00139-004
                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                               Restitution
TOTALS           $ 100.00                                         $                                  $


01] The determination of restitution is deferred until
     entered after such determination.
                                                          ------ . An Amended Judgment in a Criminal Case (AO 245C) will be

o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately Rroportioned payment, unless specified otherwise
    in the priority ~rder or pe~cent!lge payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
    before the Umted States IS paId.




TOTALS                                                        $                          $
                                                                                          --------
o    Restitution amount ordered pursuant to plea agreement $                                 _

o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

o    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     o the interest requirement is waived for 0 fme 0 restitution.
     o the interest requirement for      0 fme    0 restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))

                                                                                                      Judgment - Page        5      of         9
DEFENDANT: BENJAMIN RODRIGUEZ
CASE NUMBER: 4:08CR00139-004

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    lit Lump sum payment of $ _1_0_0_.0_0                 _ due immediately, balance due

          o not later than                                       , or
          o in accordance with 0 C, o D, 0                       E,or    OF below; or

B    0    Payment to begin immediately (may be combined with            0 C,       0 D, or      OF below); or

C    0    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    0    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monet~ 2enalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




o    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
